                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:11-cr-100
v.                                                   )
                                                     )       Chief Judge Curtis L. Collier
JAMES SMILEY                                         )

                                            ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) accept Defendant’s plea of guilty to Count One of the One-Count Bill of Information;

(2) adjudicate Defendant guilty of the charges set forth in Count One of the Bill of Information;

(3) defer a decision on whether to accept the plea agreement until sentencing; and (4) defendant has

been released on bond under appropriate conditions of release pending sentencing in this matter

without objection (Court File No. 22). Neither party filed a timely objection to the report and

recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

report and recommendation (Court File No. 22) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

as follows:

       (1) Defendant’s plea of guilty to Count One of the Bill of Information is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the Bill

of Information;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

       (4) Defendant SHALL REMAIN on bond under appropriate conditions of release pending




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      sentencing in this matter which is scheduled to take place on Thursday, April 12, 2012 at

      9:00 a.m. [EASTERN] before the Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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